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                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

ROY STEWART MOORE, an individual
c/o The Foundation for Moral Law
P.O. Box 4086
Montgomery, AL, 36103                            Case No.:
And
KAYLA MOORE, an individual                   COMPLAINT FOR DEFAMATION,
c/o The Foundation for Moral Law             INTENTIONAL INFLICTION OF
P.O. Box 4086                                EMOTIONAL DISTRESS AND FRAUD
Montgomery, AL, 36103
                  Plaintiffs,
v.
SACHA NOAM BARON COHEN, an
individual
c/o CAA
2000 Avenue of the Stars
Los Angeles, CA, 90067
And
SHOWTIME NETWORKS, INC.,
1633 Broadway
New York, NY, 10019
And
CBS CORPORATION
51 W. 52nd Street
New York, NY, 10019

                   Defendants.


I.       INTRODUCTION

         Plaintiffs Roy Stewart Moore, former Chief Justice of the Supreme Court of Alabama

(“Judge Moore”) and his wife Kayla Moore (“Mrs. Moore”) bring this instant action against

Sacha Noam Baron Cohen (“Defendant Cohen”), Showtime Networks, Inc. (“Showtime”) and

CBS Corporation (“CBS”) for Defamation, Intentional Infliction of Emotional Distress and

Fraud.




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II.    JURISDICTION AND VENUE

       1.      This Court has diversity jurisdiction over this case pursuant to 28 U.S.C. § 1332,

as the parties are completely diverse in citizenship and the amount in controversy exceeds

$75,000.

       2.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) in that a substantial part of the

events or omissions giving rise to the claim occurred in this judicial district.

III.   PARTIES

       3.      Judge Moore is an individual, natural person who is a citizen of the state of

Alabama, and the husband of Mrs. Moore.

       4.      Mrs. Moore is an individual, natural person who is a citizen of the state of

Alabama, and the wife of Judge Moore.

       5.       Defendant Cohen is an individual, natural person who is a citizen of the state of

California.

       6.      Defendant Showtime is a corporation with headquarters in New York. Showtime

is a wholly-owned subsidiary of Defendant CBS.

       7.      Defendant CBS is a corporation with headquarters in New York.

IV.    STANDING

       8.      Plaintiffs have standing to bring this action because they have been directly

affected by the unlawful conduct complained herein. Their injuries are proximately related to

the conduct of Defendants and their agents.

V.     FACTS

       9.      Judge Moore is the former Chief Justice of the Supreme Court of Alabama and a

prominent conservative figure who also ran for the U.S. Senate in 2017 as a Republican.




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       10.      Defendant Cohen is an actor, comedian, screenwriter, and producer who is best

known for portraying disguised fictional characters such as Ali G, Borat, and Brüno in different

shows and movies.

       11.      Defendant Cohen and his agents including the Defendants Showtime and CBS set

up scenarios where Defendant Cohen, while in character, falsely and fraudulently induces

unsuspecting victims, such as Judge Moore to be interviewed under dishonest, unethical, illegal

and false pretenses, for his works. Defendant Cohen and his agents then set these unsuspecting

victims up for ridicule and to severely humiliate them on film to promote his works and to

generate large financial returns for himself.

       12.      Defendant Cohen’s latest project is titled “Who is America?”

       13.      “Who is America?” debuted on the Showtime on July 15, 2018, which is owned

and produced by Showtime and CBS.

       14.      Judge Moore appeared on the third episode of “Who is America?” that originally

aired on July 29, 2018.

       15.      In order to fraudulently induce Judge Moore and Mrs. Moore to travel to

Washington, D.C., where filming was to and did take place, and where the majority of acts pled

herein occurred, on or about February 14, 2018, Defendant Cohen and his agents falsely and

fraudulently represented to Plaintiff that Yerushalayim TV – which does not actually exist - was

the producer and broadcaster of the show that Judge Moore would appear on, instead of the

actual network that the show that later appeared on Showtime. In addition, Defendant Cohen and

his agents falsely and fraudulently represented that Judge Moore and Mrs. Moore were both

being invited to Washington, D.C., for Judge Moore to receive an award for his strong support of

Israel in commemoration of its 70th anniversary as a nation state. This ceremony, and




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presentation of this award, Defendant Cohen falsely and fraudulently represented was to occur

during the interview.

       16.        Had Judge Moore and Mrs. Moore known that Defendant Cohen had fraudulently

induced Judge Moore into this interview, which as a “set up” to harm and thus damage Plaintiffs

and the rest of their entire family, Judge Moore would not have agreed to appear. Plaintiffs relied

on and had reason to rely on Defendant Cohen’s and his agents’ representations including

Defendants Showtime and CBS, which he was led to believe were truthful and he had no reason

to doubt.

       17.        Had Plaintiffs known that the promise of a bona fide award was a ruse to trick

Judge Moore into appearing on “Who is America?”, Judge Moore would not have agreed to

appear on Defendants Cohen’s, Showtime’s and CBS’s show and Mrs. Moore would not have

agreed to travel to Washington D.C. to accompany and honor her husband.

       18.        During the segment that featured Judge Moore, Defendant Cohen – while falsely

and fraudulently disguised as the character as Erran Morad, a supposed Israeli anti-terrorism

expert and former Mossad agent – falsely painted, portrayed, mocked and with malice defamed

Judge Moore as a sex offender, which he is not. Mrs. Moore was forced to endure the effects of

this interview.

       19.        Thus, during the taping of the segment, Defendant Cohen was in disguise as Erran

Morad, falsely and fraudulently portraying himself as someone else.

       20.        Had Judge Moore and Mrs. Moore known that “Erran Morad” was Defendant

Cohen, Judge Moore would have never agreed to be interviewed and, at a minimum, terminated

the interview immediately, and Plaintiffs would not have agreed to travel to Washington D.C.




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       21.       Defendant Cohen’s character falsely and fraudulently introduced a false and

fraudulent “device” supposedly invented by the Israeli Army to detect pedophiles. During the

segment, Defendant Cohen’s “device” – as part of the false and fraudulent routine – purports to

detect Judge Moore as a sex offender, thus defaming him.

       22.      This false and fraudulent portrayal and mocking of Judge Moore as a sex

offender, on national and international television, which was widely broadcast in this district on

national television and worldwide, has severely harmed Judge Moore’s reputation and caused

him, Mrs. Moore, and his entire family severe emotional distress, as well as caused and will

cause Plaintiffs financial damage.

       23.      After the taping of Judge Moore’s segment, when Plaintiffs discovered that they

had been fraudulently induced to fly to Washington, D.C. and that Judge Moore’s segment was

to appear on Showtime and CBS, his Alabama counsel, Melissa Isaak, Esq. sent a preemptive

notice to Defendants Showtime, CBS and thus Cohen warning them that Plaintiffs would resort

to appropriate legal remedies if they chose to air the segment.

       24.      In the preemptive notice, Defendants CBS, Showtime and thus Cohen were

informed that the release that Judge Moore had signed was obtained through fraud, and was

therefore void and inoperative.

       25.      CBS and Showtime failed to take remedial action for Defendant Cohen’s actions,

and therefore at a minimum adopted his actions and are jointly and severally liable.

                                  FIRST CAUSE OF ACTION
                                       Defamation Per Se
                                     Plaintiff Roy S. Moore




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       26.      Plaintiffs repeat and re-alleges all of the previous allegations of the entirety of this

Complaint, including, but not limited to with the same force and effect, as if fully set forth herein

again at length.

       27.      Defendant Cohen and his agents including Defendants Showtime and CBS made

false and defamatory statements concerning Judge Moore by calling, representing and publishing

within this district, the nation and the world, with malice, that Judge Moore a pedophile and a

sex offender on “Who is America?”

       28.      These statements are defamatory per se because they falsely accuse Judge Moore

of committing a serious crime, which amounts to a crime of moral turpitude. As defamation per

se, damage to Judge Moore is presumed as a matter of law.

       29.      Defendants acted in concert and are therefore jointly and severely liable. The

statements were made by Defendant Cohen and his agents including Showtime and CBS and

then published and/or broadcast in this district, nationwide and throughout the world by

Showtime and CBS.

       30.      Defendants acted with actual malice insofar as they knew that the statements

made against Judge Moore were false and/or recklessly disregarded their falsity.

       31.      Defendants’ statements and the publishing/broadcasting thereof were made

without any privilege.

       32.      As a direct and proximate result of Defendants and their agents’ extreme,

outrageous and malicious defamatory conduct set forth above, Judge Moore has been the subject

of widespread ridicule and humiliation and has suffered severe loss of reputation, which has in

turn also caused him, Mrs. Moore, and his entire family severe emotional distress and pain and




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financial damage, especially given his status as a prominent conservative and a God fearing

person of faith.

                               SECOND CAUSE OF ACTION
                            Intentional Infliction of Emotional Distress

       33.      Plaintiffs repeat and re-alleges all of the previous allegations of the entirety of this

Complaint, including, but not limited to with the same force and effect, as if fully set forth herein

again at length.

       34.         Defendant Cohen’s and his agents’ conduct including Showtime and CBS was

extreme and outrageous in that they falsely and without any substantiated factual basis, portrayed

Judge Moore as a pedophile and a sex offender in this district, on national television and

worldwide.

       35.      Defendant Cohen’s and his agents’ including Defendants Showtime’s and CBS’s

conduct was clearly willful and intentional.

       36.      CBS and Showtime’s conduct was extreme and outrageous in that it broadcasted

the Judge Moore segment, where he was falsely portrayed as a pedophile and sex offender, in

this district, on national television and worldwide for tens if not hundreds of millions to see and

hear, despite the fact that Judge Moore’s Alabama counsel had sent them a preemptive notice.

       37.      As a result of Defendants and their agents’ extreme and outrageous conduct,

Plaintiffs have suffered extreme emotional distress as a result of Judge Moore being falsely

portrayed, mocked and defamed as a sex offender and pedophile in this district, on national

television and worldwide.

       38.      As a direct and proximate result of Defendants and their agents’ extreme and

outrageous conduct set forth above, Judge Moore has been the subject of widespread ridicule and

has suffered severe loss of reputation, which has in turn also caused him, Mrs. Moore, and his




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entire family severe emotional distress and financial damage, especially given his status as a

prominent conservative and a God fearing person of faith.

                                THIRD CAUSE OF ACTION
                                        Fraud

       39.      Plaintiffs repeat and re-allege all of the previous allegations of the entirety of this

Complaint, including with the same force and effect, as if fully set forth herein again at length.

       40.      Defendant Cohen and his agents including Defendants Showtime and CBS

knowingly made false material representations that the show segment that Judge Moore was to

appear on was being produced by Yerushalayim TV, when in fact, it was being produced by

Showtime and CBS as part of their latest project “Who is America?”

       41.      Defendant Cohen and his agents including Defendants Showtime and CBS made

false material representations that Judge Moore and Mrs. Moore were being flown to

Washington D.C. to receive an award for his support of Israel and to commemorate the 70th

anniversary of its founding as a Jewish nation state.

       42.      Defendant Cohen and his agents including Defendants Showtime and CBS

knowingly made this false material representation to fraudulently induce Judge Moore to appear

on the program, with Mrs. Moore present, where Defendant Cohen and Defendants Showtime

and CBS would falsely portray, mock and defame Judge Moore as a pedophile and a sex

offender, which if true, which it was not, is a crime of moral turpitude.

       43.      Plaintiffs justifiably relied on Defendant Cohen’s and the other Defendants false

representations and, as a direct and proximate result of these false representations, agreed to

appear and be present on and at Defendant Cohen’s and Showtime’s and CBS’s show.




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        44.      Defendant Cohen, while in disguise, further made false and fraudulent

representations that he was “Erran Morad” in order to trick Judge Moore into speaking with and

to be interviewed by him.

        45.      Had Plaintiffs known that “Erran Morad” was Defendant Cohen, Judge Moore

would never have agreed to the interview and for Mrs. Moore to be present and, at a minimum,

have terminated the interview immediately.

        46.      Defendants CBS, Showtime and Cohen failed to take remedial action for

Defendant Cohen’s actions despite being on notice and therefore Defendants Showtime and CBS

at a minimum adopted Defendant Cohen’s actions, and all of them are jointly and severally liable

as joint tortfeasors.

        47.      As a direct and proximate result of Defendant Cohen’s and his agents’ including

Defendants Showtime’s and CBS’s false and fraudulent representations, Judge Moore, Mrs.

Moore, and his entire family have suffered extreme emotional distress as a result of Judge Moore

being falsely portrayed as a sex offender and pedophile in this district, on national television and

worldwide.

        48.      As a direct and proximate result of Defendant Cohen’s and his agents’ including

Defendants Showtime’s and CBS’s fraudulent representations, Plaintiffs been the subject of

widespread ridicule and Plaintiffs’ entire family, including Mrs. Moore, have suffered loss of

reputation, financial loss, and loss of time spent going to and being in Washington D.C.

                                   PRAYER FOR RELIEF

        W H E R E F O R E , Plaintiffs pray for relief and judgment against Defendants Cohen,

Showtime and CBS as follows, all of whom acted in concert as joint tortfeasors:              actual,




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compensatory, and punitive damages in excess of $95,000,000 USD, as well as attorneys’ fees

and costs, and any other relief that this Court may deem just and proper.

                               DEMAND FOR JURY TRIAL
       Plaintiff demands a trial by jury on all counts, as to all issues so triable.


DATED: September 6, 2018                               Respectfully submitted,


                                                       /s/ Larry Klayman
                                                       Larry Klayman, Esq.
                                                       KLAYMAN LAW GROUP, PA
                                                       2020 Pennsylvania Ave NW #800
                                                       Washington, DC, 20006
                                                       Email: leklayman@gmail.com
                                                       Tel: 310-595-0800
                                                       Counsel for Plaintiffs




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                                                               CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
 I. (a) PLAINTIFFS                                                               DEFENDANTS
 Roy S. Moore, Kayla Moore                                                      Sacha Noam Baron Cohen, Showtime Networks, Inc., CBS
                                                                                Corporation


 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________            COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)

 Klayman Law Group, P.A.
 2020 Pennsylvania Ave NW #800
 Washington, DC, 20006


 II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                           PTF    DFT                                                        PTF           DFT
 o     1 U.S. Government    o     3 Federal Question
         Plaintiff                 (U.S. Government Not a Party)    Citizen of this State        o1 o1                Incorporated or Principal Place        o4 o4
                                                                                                                      of Business in This State
 o     2 U.S. Government    o     4 Diversity                       Citizen of Another State     o2 o2                Incorporated and Principal Place       o5 o5
         Defendant                  (Indicate Citizenship of
                                                                                                                      of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                 o3 o3                Foreign Nation                         o6 o6
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o     A. Antitrust        o    B. Personal Injury/                      o     C. Administrative Agency                          o      D. Temporary Restraining
                                   Malpractice                                    Review                                                   Order/Preliminary
       410 Antitrust                                                                                                                       Injunction
                                310 Airplane                                   151 Medicare Act
                                315 Airplane Product Liability                                                                    Any nature of suit from any category
                                320 Assault, Libel & Slander              Social Security
                                                                                                                                  may be selected for this category of
                                                                               861 HIA (1395ff)
                                330 Federal Employers Liability                                                                   case assignment.
                                                                               862 Black Lung (923)
                                340 Marine
                                                                               863 DIWC/DIWW (405(g))                             *(If Antitrust, then A governs)*
                                345 Marine Product Liability
                                                                               864 SSID Title XVI
                                350 Motor Vehicle
                                                                               865 RSI (405(g))
                                355 Motor Vehicle Product Liability
                                                                          Other Statutes
                                360 Other Personal Injury
                                                                               891 Agricultural Acts
                                362 Medical Malpractice
                                                                               893 Environmental Matters
                                365 Product Liability
                                                                               890 Other Statutory Actions (If
                                367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                    Personal Injury Product Liability
                                                                                   Involved)
                                368 Asbestos Product Liability


 o     E. General Civil (Other)                                OR              o     F. Pro Se General Civil
 Real Property                          Bankruptcy                                   Federal Tax Suits                                  462 Naturalization
      210 Land Condemnation                 422 Appeal 27 USC 158                        870 Taxes (US plaintiff or                         Application
      220 Foreclosure                       423 Withdrawal 28 USC 157                         defendant)                                465 Other Immigration
      230 Rent, Lease & Ejectment                                                        871 IRS-Third Party 26 USC                         Actions
      240 Torts to Land                 Prisoner Petitions                                    7609                                      470 Racketeer Influenced
      245 Tort Product Liability             535 Death Penalty
                                                                                                                                            & Corrupt Organization
                                             540 Mandamus & Other                    Forfeiture/Penalty
      290 All Other Real Property                                                                                                       480 Consumer Credit
                                             550 Civil Rights                             625 Drug Related Seizure of
                                                                                              Property 21 USC 881                       490 Cable/Satellite TV
 Personal Property                           555 Prison Conditions
                                                                                          690 Other                                     850 Securities/Commodities/
      370 Other Fraud                        560 Civil Detainee – Conditions
                                                                                                                                            Exchange
      371 Truth in Lending                       of Confinement
                                                                                     Other Statutes                                     896 Arbitration
      380 Other Personal Property
                                                                                         375 False Claims Act                           899 Administrative Procedure
          Damage                        Property Rights
                                            820 Copyrights                               376 Qui Tam (31 USC                                Act/Review or Appeal of
      385 Property Damage
                                            830 Patent                                       3729(a))                                       Agency Decision
          Product Liability
                                            835 Patent – Abbreviated New                 400 State Reapportionment                      950 Constitutionality of State
                                                Drug Application                         430 Banks & Banking                                Statutes
                                            840 Trademark                                450 Commerce/ICC                               890 Other Statutory Actions
                                                                                             Rates/etc.                                     (if not administrative agency
                                                                                         460 Deportation                                    review or Privacy Act)
                             Case 1:18-cv-02082 Document 1-1 Filed 09/05/18 Page 2 of 2
 o     G. Habeas Corpus/                       o      H. Employment                           o     I. FOIA/Privacy Act                    o     J. Student Loan
          2255                                        Discrimination
       530 Habeas Corpus – General                    442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                         (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                          national origin,                              (if Privacy Act)                             (excluding veterans)
           Detainee                                       discrimination, disability, age,
                                                          religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o     K. Labor/ERISA                          o      L. Other Civil Rights                   o     M. Contract                            o     N. Three-Judge
          (non-employment)                               (non-employment)                                                                        Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                   441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                          Act)                                      130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                          443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                         440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                  445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                         Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act               446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                          Other                                         of Veteran’s Benefits
                                                      448 Education                                 160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate        or Reopened         from another            Litigation              District Judge        Litigation –
                           Court             Court                                     district (specify)                              from Mag.             Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)


 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $                                        Check YES only if demanded in complaint
                                                                      X
                                             ACTION UNDER F.R.C.P. 23                                                            YES               NO
      COMPLAINT                                                                      JURY DEMAND:

 VIII. RELATED CASE(S)                       (See instruction)                                                                   If yes, please complete related case form
                                                                                 YES                    NO
       IF ANY
               9/6/2018
 DATE: _________________________                                                                     /s/ Larry Klayman
                                                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
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AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District
                                                          District      of __________
                                                                   of Columbia


                       Roy Moore, et al                             )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 18-cv-2082
                                                                    )
             Sacha Noam Baron Cohen, et al                          )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CBS CORPORATION
                                           51 W. 52nd Street
                                           New York, NY, 10019




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Klayman Law Group, P.A.
                                           2020 Pennsylvania Ave NW #800
                                           Washington, DC, 20006




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               ANGELA D. CAESAR, CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
                           Case 1:18-cv-02082 Document 1-2 Filed 09/05/18 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 18-cv-2082

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District
                                                          District      of __________
                                                                   of Columbia


                       Roy Moore, et al                               )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                          Civil Action No. 18-cv-2082
                                                                      )
             Sacha Noam Baron Cohen, et al                            )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SACHA BARON NOAM COHEN
                                           c/o CAA
                                           2000 Avenue of the Stars
                                           Los Angeles, CA, 90067




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Klayman Law Group, P.A.
                                           2020 Pennsylvania Ave NW #800
                                           Washington, DC, 20006




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               ANGELA D. CAESAR, CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
                           Case 1:18-cv-02082 Document 1-3 Filed 09/05/18 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 18-cv-2082

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                         Case 1:18-cv-02082 Document 1-4 Filed 09/05/18 Page 1 of 2

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District
                                                          District      of __________
                                                                   of Columbia


                       Roy Moore, et al                             )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 18-cv-2082
                                                                    )
             Sacha Noam Baron Cohen, et al                          )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SHOWTIME NETWORKS, INC.,
                                           1633 Broadway
                                           New York, NY, 10019




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Klayman Law Group, P.A.
                                           2020 Pennsylvania Ave NW #800
                                           Washington, DC, 20006




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               ANGELA D. CAESAR, CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
                           Case 1:18-cv-02082 Document 1-4 Filed 09/05/18 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 18-cv-2082

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            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


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 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
